






NO. 07-05-0300-CR


					       07-05-0301-CR

					       07-05-0302-CR

					       07-05-0303-CR


IN THE COURT OF APPEALS



FOR THE SEVENTH DISTRICT OF TEXAS



AT AMARILLO



PANEL A



MAY 5, 2006


		______________________________



JOSE GEORGE GONZALES, JR., APPELLANT



V.



THE STATE OF TEXAS, APPELLEE


_________________________________



FROM THE 251ST DISTRICT COURT OF POTTER COUNTY;



NOS. 49,233-C, 49,234-C, 49,235-C, 50,082-C;



HONORABLE PATRICK A. PIRTLE, JUDGE


_______________________________




Before REAVIS and CAMPBELL and HANCOCK, JJ.

ORDER


	Appellant, Jose George Gonzales, Jr. appeals his convictions and sentences of
August 5, 2005.   The trial court clerk's record was filed on October 3, 2005 and a
supplemental trial court clerk's record was filed on October 11, 2005.

	The trial court ordered the preparation of the reporter's record on August 22, 2005. 
This Court has granted four extensions to the court reporter.  On April 17, 2006 this Court
sent the court reporter a letter noting that the record had not been filed and requesting the
status of the record by April 27, 2006.  On that date this Court received a fifth request for
extension of time to file the record.   

	Accordingly, we order Debby Murphy, official court reporter for the 251st District
Court of Potter County, to transcribe and file with the Clerk of this Court a reporter's record
as required by the Texas Rules of Appellate Procedure and the trial court's order dated
August 22, 2005 and encompassing cause numbers 49,233-C, 49, 234-C, 49,235-C and
50,082-C.  The record shall include all argument, evidence and exhibits presented to the
court during trial, as well as any pretrial and post-trial hearings conducted in said cause. 
We further order Debby Murphy to file the reporter's record in a manner by which it will be
actually received by the Clerk of this Court on or before 5:00 p.m. on May 15, 2006. 
Absent extraordinary circumstances, no motion for extension of time will be considered.

	Failure to file the reporter's record as directed by this Court's order may result in one
or more of the following:   


  	A hearing requiring Debby Murphy to show cause why she should not be
held in contempt; 


	(2) 	a complaint to the Court Reporter's Certification Board;

	(3) 	appropriate sanctions; or

	(4) 	abatement to the trial court for appropriate action.  



	It is so ordered.   


							Per Curiam



, Reiley testified that the assault was the
culmination of an ongoing argument between Appellant and Reiley lasting two weeks. 
During these arguments, Appellant threatened to kill her.  On January 6, 2006, Appellant
accused Reiley of taking his credit cards.  He was upset, angry, and screaming.  He
grabbed her in the hallway of their apartment and slammed her against the wall.  After
more accusations, he placed her in a chair and tied her wrists behind her with a nylon
jacket so tight he cut the circulation off to her hands.  He left her tied in the chair for
approximately thirty minutes while he located his credit cards.  When he released her, a
vein in her hand exploded.  Appellant had hidden the telephones and barricaded the front
door so she could not leave.  She subsequently crawled out the window and ran to Patricia
Sobal, property manager for the apartment complex, in the parking lot.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Sobal testified she had her assistant call 911 after she became aware of a
disturbance at the apartment complex.  She observed Reiley exit the apartment.  She
testified Reiley’s hands were black, her wrists and hands injured, she was distressed and
crying.  Sobal also observed Appellant telling residents to flee because bombs were going
to explode.  She described him as half-dressed and ranting.      
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Jack Eastland, police officer for the Austin Police Department, arrived at the
apartment complex and observed Appellant throwing household items from his window. 
He observed the apartment in a ransacked condition, located the nylon jacket used to tie
Reiley’s hands, and observed multiple bruising about Reiley’s arms, wrists, and hands. 
When Appellant was informed he was under arrest, he resisted and fought with the
officers.  Three to four officers were necessary to handcuff Appellant’s hands behind his
back.  APD police officers, Christian Minus and Brian Preusse, corroborated Eastland’s
testimony.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Appellant testified he grabbed Reiley by the wrists and tied her hands behind her
in a chair with his windbreaker so she could not run out the door.  When she started to pull
away, he tightened the double knot.  Afterwards, he gave her ice because her wrists were
red.  At the trial’s conclusion, the jury found Appellant guilty of assault with bodily injury on
a family or household member.
Discussion
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Appellant asserts that his counsel’s failure to object to testimony by Sobal and
Preusse rendered his counsel’s assistance ineffective.  Sobal testified that, shortly after
the incident, she observed Appellant’s apartment window broken, Appellant inside the
apartment without keys, and his subsequent fight with police.  Preusse testified that,
approximately a week or two after the incident, he responded to a call and observed
Appellant running down the middle of a street half-dressed with cuts, smearing blood on
windows, and yelling at people.  Preusse testified four to five officers were necessary to
restrain him.  Appellant asserts the State adduced evidence of extraneous bad acts to
establish Appellant’s propensity for violence and prejudiced the jury against him.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;We examine ineffective assistance of counsel claims by the standard enunciated 
in Strickland v. Washington, 466 U.S. 668, 687, 104 S.Ct. 2052, 80 L.Ed.2d 674 (1984)
and adopted by Texas in Hernandez v. State, 726 S.W.2d 53, 56-57 (Tex.Crim.App. 1986). 
Appellant has the burden to show by a preponderance of evidence (1) trial counsel’s
performance was deficient in that it fell below the prevailing professional norms, and (2)
the deficiency prejudiced the defendant; that is, but for the deficiency, there is a reasonable
probability that the result of the proceeding would have been different.  See Thompson v.
State, 9 S.W.3d 808, 812 (Tex.Crim.App. 1999).  We examine the totality of counsel’s
representation to determine whether Appellant received effective assistance but do not
judge counsel’s strategic decisions in hindsight.  9 S.W.3d at 813.  Rather, counsel’s
conduct is viewed with great deference.  Goodspeed v. State, 187 S.W.3d 390, 392
(Tex.Crim.App. 2005).  Moreover, any allegation of ineffectiveness must be firmly founded
in the record, and the record must affirmatively demonstrate the alleged ineffectiveness. 
Thompson, 9 S.W.3d at 812.   
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;In the usual case in which an ineffective assistance claim is made, “the record on
direct appeal will not be sufficient to show that counsel’s representation was so deficient
and so lacking in tactical or strategic decision-making as to overcome the presumption that
counsel’s conduct was reasonable and professional.”  Bone v. State, 77 S.W.3d 828, 833
(Tex.Crim.App. 2002).  This is generally the case because a silent record provides no
explanation for counsel’s actions and therefore will not overcome the strong presumption
of reasonable assistance.  Freeman v. State, 125 S.W.3d 505, 506 (Tex.Crim.App. 2003);
Rylander v. State, 101 S.W.3d 107, 110-11 (Tex.Crim.App. 2003).  The proper procedure
for raising a claim of ineffective assistance is almost always habeas corpus.  Aldrich v.
State, 104 S.W.3d 890, 896 (Tex.Crim.App. 2003).    
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;This case demonstrates the “inadequacies inherent in evaluating ineffective
assistance claims on direct appeal.”  Patterson v. State, 46 S.W.3d 294, 306
(Tex.App.–Fort Worth 2001, pet. ref’d).  A motion for a new trial claiming ineffective
assistance of counsel was not filed in the trial court, no hearing was held to determine
whether Appellant’s present complaints of ineffective assistance involved actions that may
or may not have been grounded in sound trial strategy, and the record does not reflect
counsel’s reasons for failing to object to the challenged testimony.  
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;That said, Appellant’s counsel may not have wanted to highlight these subsequent
incidents to create the appearance Appellant was being open and honest on all questions. 
These are sound and plausible trial strategies.  See, e.g., Heiman v. State, 923 S.W.2d
622, 626 (Tex.App.–Houston [1st Dist.] 1995, pet. ref’d); Ahmadi v. State, 864 S.W.2d 776,
783 (Tex.App.–Fort Worth 1993, no pet.). Undermining the credibility of the State’s
witnesses was a trial strategy pursued by Appellant’s counsel.  He repeatedly challenged
Reiley’s credibility during the State’s case and her credibility as well as the APD officers
during Appellant’s testimony.  Nevertheless, Appellant’s complaint requires us to speculate
on defense counsel’s trial strategy which we may not do, Rios v. State, 990 S.W.2d 382,
386 (Tex.App.–Amarillo 1999, no pet.), and, in the absence of reasons for counsel’s failure
to object, we cannot conclude his failure to object was “so outrageous that no competent
attorney would have engaged in it.”  Garcia v. State, 57 S.W.3d 436, 440 (Tex.Crim.App.
2001).&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;  
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;In addition, Appellant has failed to establish a reasonable probability that, but for
counsel’s unprofessional errors, if any, the result of the proceeding would have been
different.  An assault is committed when a “person intentionally, knowingly, or recklessly
causes bodily injury to another, including the person’s spouse.”  Tex. Penal Code Ann. §
22.01(a)(1) (Vernon 2003).  “Bodily injury” is defined as “physical pain, illness, or any
impairment of physical condition.” Id. at § 1.07(a)(8).  The definition is broad and
encompasses even relatively minor physical contacts as long as they constitute more than
mere offensive touching.  Lane v. State, 763 S.W.2d 785, 786 (Tex.Crim.App. 1989)
(physical pain when wrist twisted causing a bruise).                    
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Appellant does not address the victim’s testimony regarding her injuries which was
corroborated by Sobal, the Austin police officers, and physical evidence–photographs. 
Neither does Appellant address his own testimony that he grabbed Reiley by the wrists,
tied her to the chair with the windbreaker in a double knot, tightened the knots when she
resisted and, after untying her, fetched ice because her hands were red.  Thus, even if the
trial court had ruled that the extraneous conduct of which Appellant complains was
inadmissible, Appellant has not shown a reasonable probability that the result would have
been different.  Appellant’s issue is overruled.Conclusion
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Having overruled Appellant’s issue, the trial court’s judgment is affirmed.
&nbsp;
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Patrick A. Pirtle

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Justice



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